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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 09-60331-CR-COHN


  UNITED STATES OF AMERICA

  v.

  SCOTT W. ROTHSTEIN,

                          Defendant.
                                           /


       GOVERNMENT’S REPLY TO DEFENDANT’S RESPONSE TO THE GOVERNMENT’S
          MOTION TO WITHDRAW ITS MOTION FOR REDUCTION OF SENTENCE

          COMES NOW the United States of America, by and through its undersigned Assistant

  United States Attorney, and hereby replies to the defendant’s Response to the Government’s

  Motion to Withdraw its Motion for Reduction of Sentence (DE 948).

          The defendant’s Response misapprehends the standards which this Court must apply to the

  issue before it. This is not a situation where the government has asserted that the defendant

  breached his plea agreement in an effort to relieve itself of its obligations under that agreement, as

  was the case in United States v. Titus, 547 Fed.Appx. 464 (5th Cir. 2013) and the cases relied upon

  therein as cited by the defendant, in which event an evidentiary showing by the government might

  be required. Rather, the government herein is lawfully exercising its discretion, consistent with

  the terms of the plea agreement and with the terms of its previously filed motion for reduction of

  sentence. Rather than attempting to abrogate the plea agreement, the government is simply

  complying with its terms.

          Prior to entry of his guilty plea in this case, the defendant entered into a plea agreement

  with the government (DE 69). Incorporated by reference into that plea agreement was a letter
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  agreement, executed by the parties, which stated, inter alia, that the defendant would cooperate

  fully, by providing “truthful and complete information,” when called upon by the government,

  including during interviews.      The agreement further provided that, if “in the sole and

  unreviewable judgment” of the government it is deemed appropriate, the government may move

  the Court to reduce the defendant’s sentence based upon his cooperation. In that agreement, the

  defendant further acknowledged and agreed that the government was not required to file any such

  motion, and that the government’s “assessment of the nature, value, truthfulness, completeness,

  and accuracy of the defendant’s cooperation shall be binding” in determining whether to file any

  such motion (DE 75-1). Thereafter, as the one-year anniversary of the defendant’s sentencing

  approached, the government, at the defendant’s request, filed a place-keeping Rule 35 motion “in

  an abundance of caution to preserve this Court’s jurisdiction under Fed.R.Crim.P. 35(b)(1),” which

  the government expressly reserved the right to withdraw “if, in the judgment of the United States,

  the defendant should fail to comply with the terms of his plea agreement, fail to testify truthfully,

  or falsely implicate any person or entity,” a condition to which the defendant agreed by his joining

  in the motion (DE 767). Consequently, both in the plea agreement, and in the placeholder Rule

  35 motion, the government retained its absolute discretion to determine the truthfulness and

  completeness of the defendant’s cooperation and to decide whether to seek a reduction of his

  sentence on that basis.1

         The thrust of the defendant’s Response is that, because the defendant’s plea agreement did

  not provide that the government could move to withdraw any subsequently filed motion for



     1. As set forth in the government’s Motion to Withdraw Its Motion for Reduction of
     Sentence, the government’s discretion in this regard is circumscribed only to the extent that
     the government not render its decision based upon an unconstitutional motive (DE 938, p. 3,
     n. 2). The defendant has not alleged, and cannot maintain, that the government’s decision in
     this case is the product of an unconstitutional motive, such as race or religion.
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  reduction of sentence, the government is therefore prohibited from doing so, citing United States

  v. Padilla, 186 F.3d 136 (2d Cir. 1999). However, in light of the fact that, in the instant case, the

  government’s place-keeper Rule 35 motion retained the government’s discretion to withdraw it,

  Padilla is inapplicable. As the district court observed in United States v. Hartwell, 302 F. Supp.

  2d 609 (E.D. Va. 2004), aff'd, 448 F.3d 707 (4th Cir. 2006):

               In United States v. Padilla, 186 F.3d 136 (2nd Cir.1999), the Second
               Circuit refused to allow the United States to withdraw an already filed
               motion for downward departure. Applying basic contract principles, the
               court noted that, although the operative plea agreement gave the United
               States wide authority respecting the decision to file or withhold originally
               a motion for downward departure, the agreement was silent as to the
               prosecution's ability to withdraw such a motion once one was already
               filed. Citing the decision in United States v. Dixon, 998 F.2d 228 (4th
               Cir.1993), the Second Circuit stated that the United States, as drafter, was
               “‘responsible for imprecisions or ambiguities'” in the plea agreement.
               Padilla, 186 F.3d at 142 (quoting Dixon, 998 F.2d at 230). Because the
               United States neglected to reserve expressly in the plea agreement its right
               to withdraw an already filed motion for a downward departure, the court
               refused to imply such a right. Id. However, because the motion filed in
               this case did reserve to the United States the ability to withdraw its Rule
               35(b) motion, the Padilla case is inapposite.

  Id. at 616 n.3. As set forth above, in the instant case the government’s place-keeper Rule 35

  motion specifically reserved to the United States the ability to withdraw it, a condition to which

  the defendant agreed by joining in that motion.

         Moreover, the undersigned has been unable to discover any reported case outside of the

  Second Circuit which has adopted the holding and reasoning of Padilla. In fact, the Eleventh

  Circuit has rejected that reasoning. In United States v. Jackson, 635 Fed.Appx. 657 (11th Cir.

  2015), the government withdrew a motion for reduction of sentence that had been filed pursuant

  to USSG § 5K1.1 after learning that the defendant had engaged in additional criminal conduct.

  On appeal, the defendant argued that the government breached the plea agreement by withdrawing

  its § 5K1.1 motion, even though no provision of the agreement allowed it to do so. In rejecting
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  the defendant’s argument, the court reasoned as follows:

               Mr. Jackson argues that the plea agreement did not permit the government
               to file and then withdraw a § 5K1.1 motion and attempts to distinguish
               Forney [United States v. Forney, 9 F.3d 1492 (11th Cir. 1993] by arguing
               that the government in Forney refused to file a § 5K1.1 motion, whereas
               here, the government filed one and then subsequently withdrew it. Mr.
               Jackson's position thus hinges on demonstrating that the language of the
               plea agreement draws (or at a minimum implies) a distinction between the
               government's refusal to file a motion recommending a reduction in
               sentence and its withdrawal of one. Mr. Jackson points to no language in
               the agreement creating such a distinction, fails to identify what practical
               purpose such a distinction would serve, and cites no legal authority for his
               position. Needless to say, we find his argument unpersuasive.

               The conditional language of the plea agreement only obliges the
               government to consider whether Mr. Jackson's cooperation warranted a
               motion recommending a downward departure in sentence. See Forney, 9
               F.3d at 1499–00. It imposes no limitation on how the government may
               choose to exercise that discretion and draws no distinction between filing
               a motion for downward departure and later withdrawing a motion so filed.
               Indeed, it is difficult to imagine what would form the basis for such a
               distinction. In both situations the government would have considered
               whether Mr. Jackson's cooperation warranted a reduced sentence and
               decided that—as a direct result of Mr. Jackson's subsequent criminal
               activity—it did not. The government would have fulfilled its obligations
               under the terms of the plea agreement either way.

  Id. at 660 [emphasis the Court’s]. See also United States v. Haynes, 579 Fed.Appx. 473, 477 (6th

  Cir. 2014) (“Haynes claims that the government could not withdraw its Rule 35(b) motion under

  the terms of the plea agreement because it failed to reserve its right to do so in the agreement itself.

  But so holding would require us to ignore completely the very substance of the government's

  ‘protective’ Rule 35(b) motion”); United States v. Hartwell, 448 F.3d 707, 717-19 (4th Cir. 2006)

  (rejecting claim that, because under the plea agreement the government did not retain discretion to

  withdraw a previously filed sentence reduction motion, it was precluded from doing so).

  Therefore, insofar as defendant bases his argument on the alleged lack of a provision in his plea

  agreement specifically allowing the government to withdraw a subsequently filed motion to reduce

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  sentence, that argument fails. Consequently, defendant’s tortured attempt to distinguish on this

  basis the cases cited by the government in its Motion to Withdraw (DE 938) also fails.2

         The defendant asserts that, because he had already rendered substantial assistance at the

  time the place-holding motion was filed, this sets his situation apart from those other cases in

  which the government was allowed to withdraw such a previously filed motion. As noted in the

  government’s initial Motion to Withdraw Its Motion for Reduction of Sentence, in challenging the

  the government’s refusal to proceed with a sentence reduction motion, “a claim that a defendant

  merely provided substantial assistance will not entitle a defendant to a remedy or even to discovery

  or an evidentiary hearing.” Wade v. United States, 504 U.S. 181, 185-186 (1992) (DE 938, n.2).

  Further, the decisions in United States v. Hartwell, supra, and United States v. Farmer, 382

  Fed.Appx. 303 (4th Cir. 2010), reject this argument. In Farmer, the Court explained the following:

               On appeal, we held that the plea agreement language in Hartwell-i.e., “in
               its sole discretion”-gave the Government the discretion of whether to
               pursue a Rule 35 motion and also included the discretion to withdraw it.
               Id. at 718. We further held that the Government's language in its
               memorandum supporting its Rule 35(b) motion, representing that
               Hartwell had provided assistance and his sentence should be reduced, did
               not alter the Government's discretion. See Id. at 719. Finally, we held that
               because the Government had the discretion to withdraw its motion, “the
               district court did not abuse its discretion in denying Hartwell an
               evidentiary hearing.” Id. at 720.

               We find Farmer's appeal wholly analogous to Hartwell. Here, the
               Government did not obligate itself to file a Rule 35 motion in the plea
               agreement and, indeed, expressly retained its discretion to pursue (or not)
               a Rule 35 motion. See J.A. 15. (specifying that “the Government is not

  2. Defendant further attempts to distinguish Hartwell based upon the assertion that Hartwell
  agreed that, if he failed to fulfill his responsibilities to the government, the government could
  withdraw its Rule 35 motion without objection by the defendant. In the instant case, the defendant
  specifically joined in the place-keeping Rule 35 motion, which provided that the government
  “expressly reserves the right to withdraw this motion if, in the judgment of the United States, the
  defendant should fail to comply with the terms of his plea agreement, fail to testify truthfully, or
  falsely implicate any person or entity” (DE 767). Therefore, the defendant herein, like Hartwell,
  was adequately warned of the consequences of his agreement.
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                promising to move for departure pursuant to U.S.S.G. § 5K1.1, 18 U.S.C.
                § 3553(e) or Fed.R.Crim.P. 35”) (emphasis added). This discretion to file
                a Rule 35(b) motion, therefore, likewise gave the Government the
                discretion to withdraw such a motion. See Hartwell, 448 F.3d at 718.
                Further, like Hartwell, the Government represented that Farmer had
                provided assistance and that the Rule 35(b) motion was ripe for
                disposition. However, as we held in Hartwell, such a representation does
                not affect the Government's discretion to withdraw its motion prior to the
                district court ruling on the motion.

                Finally, because we hold that the Government retained its discretion to
                withdraw its Rule 35 motion, we do not believe the district court abused
                its discretion in not holding an evidentiary hearing in this case.
                Accordingly, the district court did not err in allowing the Government to
                withdraw its Rule 35 motion.

  Id. at 305–06.

           Rothstein’s case is wholly analogous to Farmer and Hartwell. The plea agreement did not

  obligate the government to file a sentence reduction motion, and expressly retained its discretion

  to pursue, or not to pursue, the motion. The discretion to file the motion gives the government

  the discretion to withdraw it. Further, as in Farmer and Hartwell, while the motion in this case

  initially represented that the defendant had provided assistance, that representation does not affect

  the government’s discretion to withdraw the motion prior to it being ruled upon by the district

  court.




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         WHEREFORE, based upon the above and foregoing, the government respectfully urges

  that the Court grant summarily its Motion to Withdraw the previously filed Motion for Reduction

  of Sentence (DE 938).

                                             Respectfully submitted,


                                             BENJAMIN G. GREENBERG
                                             UNITED STATES ATTORNEY


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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on February 16, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.



                                      BY:     /s/ Lawrence D. LaVecchio
                                             LAWRENCE D. LaVECCHIO
                                             ASSISTANT U.S. ATTORNEY




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